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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

RUTHIE LEE,

Plaintiff,
Vi CIVIL ACTION NUMBER:
2:19-CV-00140-LGW-BWC
SELECT PORTFOLIO SERVICING,

INC..,

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Defendant.

PLAINTIFF’S RESPONSE TO THE ORDER OF THE COURT
REGARDING FEDERAL JURISDICTION

COMES NOW the Plaintiff, who files this response to the Order
of the Court dated December 20, 2019, in which the Plaintiff was
directed to "Set forth the basis for Federal Jurisdiction of the
claims contained in her amended complaint."

The Defendant removed this case from the Superior Court of
Glynn County, contending that the Court had diversity jurisdiction
pursuant to 28 U.S.C.§ 1332(a) because the Defendant is a Utah
corporation with its principal place of business in Utah, and the
Plaintiff is a resident of Georgia, and that the amount in
controversy exceeds $75,000.00, exclusive of interest and costs.

The Defendant argued that the Glynn County Tax Assessor values
the property at $203,900.00, and that if the Plaintiff prevails,
she will "obtain a benefit of over $75,000.00 if the [Plaintiff]
prevails in this case."

The Plaintiff does not agree that the value established by the
Glynn County Tax Commissioner represents the fair market value of

the subject property.
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ARGUMENT AND CITATION OF AUTHORITY
28 U.S.C.§ 1332(a) provides that a Defendant may remove a case

to Federal Court if there is a diversity of citizenship and the
amount in controversy exceeds $75,000.00, excluding interest and
costs. Here, neither the Complaint nor the Amended Complaint
contain ad damnum clause specifying that the Plaintiff is seeking
damages in excess of $75,000.00. Thus, within the four corners of
the Complaint, there is nothing to show that there is over
$75,000.00 in controversy. The question of whether the amount in
controversy is sufficient to invoke diversity jurisdiction is
determined from the perspective of the Plaintiff. See Ericsson GE
obi i ions Inc. v. Motorola Communications and
Electronics, Inc., 120 F.3d 216 (11th Cir. 1997). The value of the
property does not establish the amount in controversy. A copy of an
unauthenticated statement from the Glynn County GIS website does
not establish value. The GIS website lists a number of other houses
on Wasp Drive which have sold for substantially less than
$100,000.00 in the recent past. Furthermore, it is the Plaintiff's
position that her interest in the property is not subject to the
security deed which was recorded in the property records of Glynn
County. Therefore, it is unknown if the Plaintiff's claims against
the Defendant will exceed $75,000.00 or not. That being said, the
Plaintiff respectfully submits that since the Court has inquired
into its jurisdiction, the Court should remand this action to the
Superior Court of Glynn County, Georgia, since the Complaint does
not allege that amount, and there is no evidence to support the

contention that the requisite jurisdictional amount is at state.
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Respectfully submitted on this the 27th day of December, 2019.

 

Z
W. DOUGLAS ADAMg) —C_____

Georgia Bar Numer: 004650
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Defendant.
ERTIFICATE OF SERVICE
This is to certify that I have this day served all parties in
this case in accordance with the directives from the Court Notice
of Electronic Filing ("NEF"), which was generated as a result of
electronic filing.

Submitted this the 27th day of December, 2019.

/s/W. Douglas Adams
Georgia Bar Number: 004650

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